   Case: 3:22-cr-00008-RAM-RM           Document #: 84       Filed: 11/03/22     Page 1 of 3




                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
                      v.                        )      Case No. 3:22-cr-0008
                                                )
YEFRI MARTINEZ HERRERA and KELLY                )
BRUNEY,                                         )
                                                )
                      Defendants.               )
                                                )

                                            ORDER
       BEFORE THE COURT are Defendant Yefri Martinez-Herrera’s (“Herrera”)
Unopposed Motion to Continue Evidentiary Hearing Date, ECF No. 81, and Supplemental
Motion to Continue Evidentiary Hearing Date and Motion to Continue Trial Date (ECF No.
83.) For the reasons stated below the Court will grant the motions. The time to try this case
is extended up to and including April 11, 2023.
       Defendant Herrera filed a motion to suppress on April 11, 2022. (ECF No. 42.)
Thereafter, the Court scheduled an evidentiary hearing on the motion to suppress for
November 4, 2022. (ECF No. 79.) On November 1, 2022, Defendant Herrera moved to
reschedule the hearing on the motion to a date after November 28, 2022. (ECF No. 81.) In his
motion, Defendant Herrera avers that his counsel has not had the opportunity to prepare for
the upcoming hearing due to scheduling conflicts. Id. at 1. This case is currently scheduled
for jury selection and trial for November 14, 2022.
       On November 2, 2022, the Court entered an order construing the motion as an
implicit request to continue the jury selection and trial in this matter and requiring
Defendant Herrera to file an appropriate motion—with the required analysis—in
accordance with LRCr 12.5 and LRCi 7.1(g). (ECF No. 82.) Defendant Herrera filed his
supplemental motion the same day. (ECF No. 83.) In this motion, Defendant Herrera
supplemented his request that this Court continue the evidentiary hearing and moved to
continue the jury selection and trial in this matter. Id. at 1. Defendant Herrera avers that that
delay resulting from the filing of the motion to suppress is excluded time under the Speedy
   Case: 3:22-cr-00008-RAM-RM             Document #: 84     Filed: 11/03/22     Page 2 of 3
United States v. Herrera et al.
Case No.: 3:22-cr-0008
Order
Page 2 of 3

Trial Act. Id. at 1-2. Defendant Herrera consulted with counsel for co-Defendant Kelley
Bruney and opposing counsel, neither of whom oppose the motion or object to the exclusion
of time under the Speedy Trial Act. Id. at 2. Defendant Bruney, however, continues to assert
his constitutional right to a speedy trial. Id. at 2.
         Under the Speedy Trial Act, courts may exclude “any delay resulting from any pretrial
motion, from the filing of the motion through the conclusion of the hearing on, or prompt
disposition of, such motion.” 18 U.S.C. §3161(h)(1)(D). Furthermore, United States Court of
Appeals for the Third Circuit has recognized that “whether or not a case is ‘unusual’ or
‘complex,’ an ‘ends of justice’ continuance may in appropriate circumstances be granted.”
United States v. Fields, 39 F.3d 439, 444 (3d Cir. 1994). See United States v. Stallings, 701 F.
App'x 164, 170-71 (3d Cir. 2017) (upholding an ends of justice continuance based in part on
counsel’s family emergency and scheduling conflicts); United States v. Moore, 216 F. Supp. 3d
566, 581 (E.D. Pa. 2016) (finding that the Speedy Trial Act was not violated where the court
granted a continuance based on defense counsel’s scheduling conflicts).
         While the Speedy Trial Act requires that defendants be tried within seventy days of
indictment, the Court specifically finds that the ends of justice served by extending this
period outweigh the best interest of the public and the defendants. Here, an extension of time
is necessary for the defense counsel to adequately prepare for the suppression hearing, and
for the Court to properly dispose of the motion to suppress.
         The premises considered, it is hereby
         ORDERED that Defendant Herrera’s Unopposed Motion to Continue Evidentiary
Hearing Date, ECF No. 81, and Supplemental Motion to Continue Evidentiary Hearing Date
and Motion to Continue Trial Date, ECF No. 83, are GRANTED; it is further
         ORDERED that the evidentiary hearing previously scheduled for November 4, 2022,
is hereby CONTINUED to commence promptly at 9:00 A.M. on February 3, 2023, in St.
Thomas Courtroom 1; it is further
         ORDERED that the time beginning from the date of this order granting an extension
for trial through April 11, 2023, SHALL be excluded in computing the time within which the
trial in this matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
   Case: 3:22-cr-00008-RAM-RM                 Document #: 84          Filed: 11/03/22        Page 3 of 3
United States v. Herrera et al.
Case No.: 3:22-cr-0008
Order
Page 3 of 3

         ORDERED that the parties SHALL file and serve a pre-trial brief no later than March
31, 2023, which shall include the following: (a) proposed list of witnesses; (b) proposed list
of exhibits; (c) estimated length of case-in-chief and case-in-defense; (d) proposed non-
standard voir dire questions; and (e) proposed non-standard jury instructions related to the
elements of the charges and defenses; it is further
         ORDERED that the parties SHALL provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than April 5, 2023;1 and it is further
         ORDERED that the April 4, 2022 deadline for substantive motions has EXPIRED; it is
further
         ORDERED that any motion in limine SHALL be filed no later than March 21, 2023,
and any response to such motion SHALL be filed by March 28, 2023. No further briefing on
motions in limine SHALL be permitted unless authorized by the Court; it is further
         ORDERED that the Jury Selection and Trial in this matter SHALL commence promptly
at 9:00 a.m. on April 11, 2023, in St. Thomas Courtroom 1.



Dated: November 3, 2022                                     /s/Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge




1 Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic

versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with Government
Exhibit 1. Defense’s exhibits shall be labelled sequentially beginning with Defense Exhibit A.
